                    Case: 18-14846       Doc: 23      Filed: 02/21/19     Page: 1 of 3



                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                          Case No.: BK-18-14846-JDL
JUDITH DARLENE SNOW,                                      Chapter 13

       DEBTOR.


                   CREDITOR’S PRELIMINARY WITNESS AND EXHIBIT LIST

       COMES NOW the Creditor, QUICKEN LOANS INC., (“QUICKEN”), through its undersigned
counsel, and hereby submits its Preliminary Witness and Exhibit List for the hearing scheduled for March
12, 2019 on Debtor’s Objection to Proof of Claim #1 (Doc. 14) and Debtor’s Motion for
Determination of Fees, Expenses, or Charges Pursuant to Rule 3002.1(E) (Doc. 13). QUICKEN
reserves the right to amend these lists as equity may require and/or allow.

                                               WITNESSES

No. Name                        Address       Proposed Testimony
1.  Expert Witness(es) to       To be         Will testify to amount of work, skill and knowledge required
    be determined               determined    to receive, process and prepare foreclosure actions and
                                              bankruptcy Proof of Claim matters along with reasonableness
                                              of fees and expenses challenged herein.
2.    All witnesses of other
      parties not objected to
      by QUICKEN
3.    All necessary records                   Identify and/or authenticate Creditor’s exhibits
      custodians

                                                EXHIBITS

No.                                         EXHIBIT
1.    Invoice(s) for Foreclosure Fees and Expenses
2.    Invoice(s) for Bankruptcy Fees and Expenses
3.    Pleadings and Claims Filed herein
4.    Note dated March 16, 2017
5.    Mortgage dated March 16, 2017 recorded March 29, 2017 in Book 13395 Page 629 of the Oklahoma
      County Clerk
6.    Any exhibit needed for impeachment or rebuttal purposes
7.    Debtor’s exhibits not objected to by QUICKEN
Case: 18-14846     Doc: 23   Filed: 02/21/19   Page: 2 of 3




                             QUICKEN LOANS INC.




             By:         s/ Matthew J. Hudspeth
                         MATTHEW J. HUDSPETH - #14613
                         JIM TIMBERLAKE - #14945
                         Baer Timberlake, P.C.
                         4200 Perimeter Center, Suite 100
                         Oklahoma City, OK 73102
                         Telephone: (405) 842-7722
                         Fax: (918) 794-2768
                         mhudspeth@baer-timberlake.com
                         Attorney for Creditor




                                                              2
                   Case: 18-14846        Doc: 23   Filed: 02/21/19     Page: 3 of 3




                                   CERTIFICATE OF SERVICE

I hereby certify that I mailed a true and correct copy of the above and foregoing Preliminary Witness and
Exhibit List with postage thereon fully prepaid to the parties listed below on February 21, 2018.

Judith Darlene Snow
1713 Hampton Dr.
Oklahoma City, OK 73115

      The following persons should have received notice of the above and foregoing instrument on the
same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
Sansone Howell PLLC
Arvest Bank Tower, Suite 500
4600 SE 29th St
Del City, OK 73115
                                   By:         s/ Matthew J. Hudspeth____________
                                               MATTHEW J. HUDSPETH - #14613
                                               JIM TIMBERLAKE - #14945
                                               Baer Timberlake, P.C.
                                               4200 Perimeter Center, Suite 100
                                               Oklahoma City, OK 73102
                                               Telephone: (405) 842-7722
                                               Fax: (918) 794-2768
                                               mhudspeth@baer-timberlake.com
                                               Attorney for Creditor




                                                                                                       3
